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                    EXHIBIT 5




Voluntary Petition for Bankruptcy




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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 DISTRICT OF NEVADA
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Schulte Properties, LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      2      –      1      6        7    7         6   1     5

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       9811 W. Charleston Blvd. Ste 2-351
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Las Vegas                           NV       89117
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Clark                                                           from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Schulte Properties, LLC                                                          Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.naics.com/search/




8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                           4/01/19 and every 3 years after that).

                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return or if
                                                             all of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                             Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                             form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                             Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                        When                      Case number
     years?                                                                                              MM / DD / YYYY

                                                District                                        When                      Case number
     If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
     separate list.
                                                District                                        When                      Case number
                                                                                                         MM / DD / YYYY




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Debtor Schulte Properties, LLC                                                           Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.




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Debtor Schulte Properties, LLC                                                           Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

 Part X:      Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 05/31/2017
                                                      MM / DD / YYYY

                                          X /s/ Melani Schulte                                      Melani Schulte
                                              Signature of authorized representative of debtor      Printed name

                                          Title Member

18. Signature of attorney                X /s/ Amberlea Davis                                                     Date     05/31/2017
                                            Signature of Attorney for Debtor                                              MM / DD / YYYY

                                            Amberlea Davis
                                            Printed name
                                            Law Office Of Amberlea Davis
                                            Firm Name
                                            415 S. 6th St Ste 300
                                            Number          Street



                                            Las Vegas                                                  NV                   89101
                                            City                                                       State                ZIP Code


                                            Contact phone (702) 440-8000                 Email address amber@sheismylawyer.com


                                            11551                                                      NV
                                            Bar number                                                 State




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 Fill in this information to identify the case
 Debtor name        Schulte Properties, LLC

 United States Bankruptcy Court for the: DISTRICT OF NEVADA

 Case number
                                                                                                                   Check if this is an
 (if known)
                                                                                                                   amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                             12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:       Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?
          No. Go to Part 2.
          Yes. Fill in the information below.


     All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                           debtor's interest

2.   Cash on hand

3.   Checking, savings, money market, or financial brokerage accounts (Identify all)

     Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                      account number
4.   Other cash equivalents       (Identify all)

     Name of institution (bank or brokerage firm)

5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                           $0.00


 Part 2: Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.




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Debtor       Schulte Properties, LLC                                                      Case number (if known)
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
                                                                                                                                                $0.00
     Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:              $0.00               –                 $0.00                  = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:                 $0.00               –                 $0.00                  = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                $0.00


 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                           Valuation method                     Current value of
                                                                                           used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
                                                                                                                                                $0.00
    Add lines 14 through 16. Copy the total to line 83.

 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.




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Debtor       Schulte Properties, LLC                                                   Case number (if known)
             Name

     General description                         Date of the       Net book value of    Valuation method          Current value of
                                                 last physical     debtor's interest    used for current value    debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                  $0.00

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method          Current value of
                                                                   debtor's interest    used for current value    debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                  $0.00

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor       Schulte Properties, LLC                                                    Case number (if known)
             Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                  $0.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
                                                                                                                                  $0.00
    Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
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Debtor       Schulte Properties, LLC                                                  Case number (if known)
             Name


 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.   Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
      Description and location of property           Nature and extent      Net book value of   Valuation method   Current value of
      Include street address or other description    of debtor's interest   debtor's interest   used for current   debtor's interest
      such as Assessor Parcel Number (APN),          in property            (Where available)   value
      and type of property (for example,
      acreage, factory, warehouse, apartment or
      office building), if available.

55.1. 9500 Aspen Glow Dr. Las Vegas, NV
      89134
      Parcel: 138-19-515-038
      Aspen Glow
      Real Property                                  Fee Simple                                                            $277,000.00

55.2. 2460 Avenida Cortes
      Henderson, NV 89074-6349
      Parcel: 178-19-110-070
      2460 Avenida Cortes                            Fee Simple                                                            $250,000.00

55.3. 7873 Bridgefield Lane
      Las Vegas, NV 89147-5099
      Parcel: 163-21-617-059
      7873 Bridgefield Lane                          Fee Simple                                                            $204,212.00
55.4. 1624 Desert Canyon Ct
      Las Vegas, NV 89128
      Parcel: 138-21-415-018
      1624 Desert Canyon Ct                          Fee Simple                                                            $281,000.00

55.5. 1392 Echo Falls Ave
      Las Vegas, NV 89123-6377
      Parcel: 177-26-211-146
      1392 Echo Falls Ave                            Fee Simple                                                            $252,000.00

55.6. 9020 Feather River Ct
      Las Vegas, NV 89117-2367
      Parcel: 163-08-213-045
      9020 Feather River Ct                          Fee Simple                                                            $258,000.00

55.7. 5218 Misty Morning Dr.
      Las Vegas, NV 89118-0600
      Parcel: 163-26-610-009
      5218 Misty Morning Dr.                         Fee Simple                                                            $290,000.00

55.8. 956 Ostrich Fern Court
      Las Vegas. Nv 89123
      Parcel: 177-27-711-248
      956 Ostrich Fern Court                         Fee Simple                                                            $244,000.00

55.9. 6091 Pumpkin Patch Ave
      Las Vegas, NV 89142-0791
      Parcel: 161-03-413-041
      6091 Pumpkin Patch Ave                         Fee Simple                                                            $210,000.00

55.10. 1528 Splinter Rock Way
      North Las Vegas, NV 89031
      Parcel: 124-28-314-011
      1528 Splinter Rock Way                         Fee Simple                                                            $231,000.00



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Debtor       Schulte Properties, LLC                                                     Case number (if known)
             Name

55.11. 2290 Surrey Meadows Ave
      Henderson, NV 89052
      Parcel: 178-19-712-019
      2290 Surrey Meadows Ave                        Fee Simple                                                                           $0.00

55.12. 2614 Sweet Leilani Ave
      North Las Vegas, NV 89031
      Parcel: 124-29-615-080
      2614 Sweet Leilani Ave                         Fee Simple                                                                   $233,000.00

55.13. 3729 Discovery Creek Ave
      North Las Vegas, NV 89031
      Parcel: 124-30-710-098
      3729 Discovery Creek Ave                       Fee Simple                                                                   $235,000.00

55.14. 3383 cloverdale Ct,
      Las Vegas, NV 89117-3951
      Parcel: 163-16-515-031
      3383 cloverdale Ct,                            Fee Simple                                                                   $282,109.00
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                $3,247,321.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

     General description                                           Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                          $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes



Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 6
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Debtor       Schulte Properties, LLC                                                     Case number (if known)
             Name


Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                  Current value of
                                                                                                                  debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                  $0.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                    page 7
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Debtor           Schulte Properties, LLC                                                                             Case number (if known)
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                                    $0.00
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                              $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................      $3,247,321.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.                      $0.00       +     91b.         $3,247,321.00



                                                                                                                                                                $3,247,321.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                        page 8
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 Fill in this information to identify the case:
 Debtor name          Schulte Properties, LLC

 United States Bankruptcy Court for the: DISTRICT OF NEVADA

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Aja Campbell                                     subject to a lien                                            $0.00            $235,000.00

          Creditor's mailing address                       3729 Discovery Creek Ave
          3729 Discovery Creek Ave                         Describe the lien
                                                           Notice Only
                                                           Is the creditor an insider or related party?
          North Las Vegas            NV   89031-3603            No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.
             1) BAC Home Loan Servicing, LP; 2)
             Karen Taylor; 3) Aja Campbell; 4)
             Creekside HOA c/o first residential.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                              $2,552,774.69


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         BAC Home Loan Servicing, LP                         subject to a lien                                     $40,000.00             $250,000.00

         Creditor's mailing address                          2460 Avenida Cortes
         PO Box 942019                                       Describe the lien
                                                             Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Simi Valley                CA       93094-2019           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          6    4   8    1     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) BAC Home Loan Servicing, LP;
               2) Pebble Creek HOA; 3) Chris
               Wirta; 4) Mary Wirta; 5) JP
               Morgan Chase Bank.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.3     Creditor's name                                     Describe debtor's property that is
         BAC Home Loan Servicing, LP                         subject to a lien                                     $50,000.00             $258,000.00

         Creditor's mailing address                          9020 Feather River Ct
         PO Box 942019                                       Describe the lien
                                                             Purchase Money
                                                             Is the creditor an insider or related party?
         Simi Valley                CA       93094-2019           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          6    4   6    5     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) JP Morgan Chase Bank; 2)
               Federal Home Loan Mortgage
               Corp; 3) BAC Home Loan
               Servicing, LP; 4) James Craig; 5)
               West Sahara Community HOA
               c/p First Serv.
                Yes. The relative priority of creditors is
                specified on lines

 2.4     Creditor's name                                     Describe debtor's property that is
         BAC Home Loan Servicing, LP                         subject to a lien                                    $125,000.00             $233,000.00

         Creditor's mailing address                          2614 Sweet Leilani Ave
         PO Box 942019                                       Describe the lien
                                                             Purchase Money
                                                             Is the creditor an insider or related party?
         Simi Valley                CA       93094-2019           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          2    2   8    7     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) BAC Home Loan Servicing, LP;
               2) Maria Lopez; 3) Luis Lopez.
                Yes. The relative priority of creditors is
                specified on lines


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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.5     Creditor's name                                     Describe debtor's property that is
         BAC Home Loan Servicing, LP                         subject to a lien                                    $123,000.00             $235,000.00

         Creditor's mailing address                          3729 Discovery Creek Ave
         PO Box 942019                                       Describe the lien
                                                             Purchase Money
                                                             Is the creditor an insider or related party?
         Simi Valley                CA       93094-2019           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          7    0   2    8     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1

 2.6     Creditor's name                                     Describe debtor's property that is
         BAC Home Loan Servicing, LP                         subject to a lien                                    $235,000.00             $282,109.00

         Creditor's mailing address                          3383 cloverdale Ct,
         PO Box 942019                                       Describe the lien
                                                             Purchase Money
                                                             Is the creditor an insider or related party?
         Simi Valley                CA       93094-2019           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          5    8   2    5     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) BAC Home Loan Servicing, LP;
               2) Sandra Schafer.
                Yes. The relative priority of creditors is
                specified on lines




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.7     Creditor's name                                     Describe debtor's property that is
         Billy Obedoza                                       subject to a lien                                            $0.00           $290,000.00

         Creditor's mailing address                          5218 Misty Morning Dr.
         5218 Misty Morning Dr.                              Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV    89118-0600              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) Fifth Third Bank Mtg Loan Scv;
               2) Billy Obedoza; 3) Kami
               Conselva.
                Yes. The relative priority of creditors is
                specified on lines

 2.8     Creditor's name                                     Describe debtor's property that is
         Chris Wirta                                         subject to a lien                                            $0.00           $250,000.00

         Creditor's mailing address                          2460 Avenida Cortes
         2460 Avenida Cortes                                 Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Henderson                  NV    89074-6349              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.2

         Tenant




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.9     Creditor's name                                     Describe debtor's property that is
         Christopher Martano                                 subject to a lien                                            $0.00           $252,000.00

         Creditor's mailing address                          1392 Echo Falls Ave
         1392 Echo Falls Ave                                 Describe the lien
         Las Vegas, NV 8923-6377                             Notice Only
                                                             Is the creditor an insider or related party?
                                                                  No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) Shellpoint Mortgage Servicing;
               2) Michaela Martano; 3)
               Christopher Martano; 4) Silverado
               Rnch LMA C/O First Service Res.
                Yes. The relative priority of creditors is
                specified on lines

 2.10    Creditor's name                                     Describe debtor's property that is
         CitiMortgage, Inc                                   subject to a lien                                    $153,000.00             $277,000.00

         Creditor's mailing address                          Aspen Glow
         P.O. Box 10002                                      Describe the lien
                                                             Purchase Money
                                                             Is the creditor an insider or related party?
         Hagerstown                 MD     21747                  No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                        8    5      1   7     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) CitiMortgage, Inc; 2) City
               National Bank; 3) Summerlin
               North Community Assoc.
                Yes. The relative priority of creditors is
                specified on lines



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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.11    Creditor's name                                     Describe debtor's property that is
         CitiMortgage, Inc                                   subject to a lien                                    $125,000.00             $281,000.00

         Creditor's mailing address                          1624 Desert Canyon Ct
         P.O. Box 10002                                      Describe the lien
                                                             Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Hagerstown                 MD     21747                  No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                        8    2      9   5     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) CitiMortgage, Inc; 2) Image
               Finance, LLC; 3) Shauna Brogan;
               4) Summerlin North Community
               Assoc.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 7
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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.12    Creditor's name                                     Describe debtor's property that is
         CitiMortgage, Inc                                   subject to a lien                                    $175,000.00                    $0.00

         Creditor's mailing address                          2290 Surrey Meadows Ave
         P.O. Box 10002                                      Describe the lien
                                                             Purchase Money
                                                             Is the creditor an insider or related party?
         Hagerstown                 MD       21747                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          0    5      4   4   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) CitiMortgage, Inc; 2) Seterus,
               Inc.; 3) Nettie Johnston; 4) Green
               Valley Ranch, HOA CO Terra
               West; 5) Copper Ridge C/O
               Colonial Mgmt.
                Yes. The relative priority of creditors is
                specified on lines

 2.13    Creditor's name                                     Describe debtor's property that is
         City National Bank                                  subject to a lien                                     $23,000.00             $277,000.00

         Creditor's mailing address                          Aspen Glow
         PO Box 60938                                        Describe the lien
                                                             Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Los Angeles                CA       90060-0938           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.10




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 8
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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.14    Creditor's name                                     Describe debtor's property that is
         Clint Fisher                                        subject to a lien                                            $0.00           $244,000.00

         Creditor's mailing address                          956 Ostrich Fern Court
         956 Ostrich Fern Court                              Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV       89123-4050           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) Shellpoint Mortgage Servicing;
               2) Silverado Rnch LMA C/O First
               Service Res; 3) Clint Fisher.
                Yes. The relative priority of creditors is
                specified on lines

 2.15    Creditor's name                                     Describe debtor's property that is
         Copper Ridge C/O Colonial Mgmt                      subject to a lien                                       $3,000.00                   $0.00

         Creditor's mailing address                          2290 Surrey Meadows Ave
         PO Box 63275                                        Describe the lien
                                                             Arrearage
                                                             Is the creditor an insider or related party?
         Phoenix                    AZ       85082-3275           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          2    2   9    0     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.12




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.16    Creditor's name                                     Describe debtor's property that is
         Creekside HOA c/o first residential                 subject to a lien                                       $5,000.00            $235,000.00

         Creditor's mailing address                          3729 Discovery Creek Ave
         PO Box 54089                                        Describe the lien
                                                             Arrearage
                                                             Is the creditor an insider or related party?
         Los Angeles                CA       90054-0089           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          1    6   0    1     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1

 2.17    Creditor's name                                     Describe debtor's property that is
         Dulce B. Soliz                                      subject to a lien                                            $0.00           $210,000.00

         Creditor's mailing address                          6091 Pumpkin Patch Ave
         6091 Pumpkin Patch Ave                              Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV       89142-0791           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) JP Morgan Chase Bank; 2)
               Jessie C. Gaytan; 3) Dulce B.
               Soliz.
                Yes. The relative priority of creditors is
                specified on lines




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.18    Creditor's name                                     Describe debtor's property that is
         Eldorado First C/o Terra West Property subject to a lien                                                      $500.00            $231,000.00

         Creditor's mailing address             1528 Splinter Rock Way
         PO Box 80900                                        Describe the lien
                                                             Arrearage
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV       89180-0900           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          1    4      2   2   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) Wells Fargo Home Mortgage;
               2) Image Finance, LLC; 3) Robert
               Lopez; 4) Rosanna Lopez; 5)
               Eldorado First C/o Terra West
               Property.
                Yes. The relative priority of creditors is
                specified on lines

 2.19    Creditor's name                                     Describe debtor's property that is
         Federal Home Loan Mortgage Corp                     subject to a lien                                            $0.00           $258,000.00

         Creditor's mailing address                          9020 Feather River Ct
         8200 Jones Branch Dr.                               Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         McLean                     VA       22102                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          4    8      8   6   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.3




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
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Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.20    Creditor's name                                     Describe debtor's property that is
         Fifth Third Bank Mtg Loan Scv                       subject to a lien                                    $146,000.00             $290,000.00

         Creditor's mailing address                          5218 Misty Morning Dr.
         5050 Kingsley Dr.                                   Describe the lien
         MD 1MOC FP                                          Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Cincinnati                 OH       45263                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          6    6      8   2   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.7

 2.21    Creditor's name                                     Describe debtor's property that is
         Green Valley Ranch, HOA CO Terra Westsubject to a lien                                                      $2,000.00                   $0.00

         Creditor's mailing address           2290 Surrey Meadows Ave
         PO Box 94617                                        Describe the lien
                                                             Arrearage
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV       89193-4617           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          8    7      4   0   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.12




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
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Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.22    Creditor's name                                     Describe debtor's property that is
         Image Finance, LLC                                  subject to a lien                                     $95,758.23             $204,212.00

         Creditor's mailing address                          7873 Bridgefield Lane
         4571 Wilshire Blvd, Suite 203                       Describe the lien
                                                             Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Las Angeles                CA    90010                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
               1) JP Morgan Chase Bank; 2)
               Image Finance, LLC; 3) Linda
               Reina.
                Yes. The relative priority of creditors is
                specified on lines

 2.23    Creditor's name                                     Describe debtor's property that is
         Image Finance, LLC                                  subject to a lien                                     $95,758.23             $281,000.00

         Creditor's mailing address                          1624 Desert Canyon Ct
         4571 Wilshire Blvd, Suite 203                       Describe the lien
                                                             Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Las Angeles                CA    90010                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.11




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.24    Creditor's name                                     Describe debtor's property that is
         Image Finance, LLC                                  subject to a lien                                     $95,758.23             $231,000.00

         Creditor's mailing address                          1528 Splinter Rock Way
         4571 Wilshire Blvd, Suite 203                       Describe the lien
                                                             Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Las Angeles                CA       90010                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          6    3      2   8   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.18

 2.25    Creditor's name                                     Describe debtor's property that is
         James Craig                                         subject to a lien                                            $0.00           $258,000.00

         Creditor's mailing address                          9020 Feather River Ct
         9020 Feather River Ct                               Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV       89117-2367           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.3




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.26    Creditor's name                                     Describe debtor's property that is
         Jessie C. Gaytan                                    subject to a lien                                            $0.00           $210,000.00

         Creditor's mailing address                          6091 Pumpkin Patch Ave
         6091 Pumpkin Patch Ave                              Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV    89142                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.17

 2.27    Creditor's name                                     Describe debtor's property that is
         JP Morgan Chase Bank                                subject to a lien                                     $96,000.00             $204,212.00

         Creditor's mailing address                          2460 Avenida Cortes
         P.O. Box 183166                                     Describe the lien
                                                             Purchase Money
                                                             Is the creditor an insider or related party?
         Columbus                   OH    43218-3166              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.22




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
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sequentially from the previous page.                                                                         value of collateral.   this claim

 2.28    Creditor's name                                     Describe debtor's property that is
         JP Morgan Chase Bank                                subject to a lien                                     $95,000.00             $250,000.00

         Creditor's mailing address                          2460 Avenida Cortes
         P.O. Box 183166                                     Describe the lien
                                                             Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Columbus                   OH       43218-3166           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          4    5   3    1     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.2

 2.29    Creditor's name                                     Describe debtor's property that is
         JP Morgan Chase Bank                                subject to a lien                                    $100,000.00             $258,000.00

         Creditor's mailing address                          9020 Feather River Ct
         P.O. Box 183166                                     Describe the lien
                                                             Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Columbus                   OH       43218-3166           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          4    5   2    3     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.3




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
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sequentially from the previous page.                                                                         value of collateral.   this claim

 2.30    Creditor's name                                     Describe debtor's property that is
         JP Morgan Chase Bank                                subject to a lien                                    $110,000.00             $210,000.00

         Creditor's mailing address                          6091 Pumpkin Patch Ave
         P.O. Box 183166                                     Describe the lien
                                                             Purchase Money
                                                             Is the creditor an insider or related party?
         Columbus                   OH    43218-3166              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.17

 2.31    Creditor's name                                     Describe debtor's property that is
         Kami Conselva                                       subject to a lien                                            $0.00           $290,000.00

         Creditor's mailing address                          5218 Misty Morning Dr.
         5218 Misty Morning Dr.                              Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         LAs Vegas                  NV    89118-0600              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.7




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
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Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.32    Creditor's name                                     Describe debtor's property that is
         Karen Taylor                                        subject to a lien                                            $0.00           $235,000.00

         Creditor's mailing address                          3729 Discovery Creek Ave
         3729 Discovery Creek Ave                            Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         North Las Vegas            NV    89031-3603              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1

 2.33    Creditor's name                                     Describe debtor's property that is
         Linda Reina                                         subject to a lien                                            $0.00           $204,212.00

         Creditor's mailing address                          7873 Bridgefield Lane
         7873 Bridgefield Lane                               Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV    89147-5099              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.22




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
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Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.34    Creditor's name                                     Describe debtor's property that is
         Luis Lopez                                          subject to a lien                                            $0.00           $233,000.00

         Creditor's mailing address                          2614 Sweet Leilani Ave
         2614 Sweet Leilani Ave                              Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         North Las Vegas            NV    89031                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.4

 2.35    Creditor's name                                     Describe debtor's property that is
         Maria Lopez                                         subject to a lien                                            $0.00           $233,000.00

         Creditor's mailing address                          2614 Sweet Leilani Ave
         2614 Sweet Leilani Ave                              Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         North Las Vegas            NV    89031                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.4




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 Part 1:       Additional Page                                                                               Column A               Column B
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sequentially from the previous page.                                                                         value of collateral.   this claim

 2.36    Creditor's name                                     Describe debtor's property that is
         Mary Wirta                                          subject to a lien                                            $0.00           $250,000.00

         Creditor's mailing address                          2460 Avenida Cortes
         2460 Avenida Cortes                                 Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Henderson                  NV    89074                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.2

         Tenant

 2.37    Creditor's name                                     Describe debtor's property that is
         Michaela Martano                                    subject to a lien                                            $0.00           $252,000.00

         Creditor's mailing address                          1392 Echo Falls Ave
         1392 Echo Falls Ave                                 Describe the lien
         Las Vegas, NV 8912306377                            Notice Only
                                                             Is the creditor an insider or related party?
                                                                  No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.9




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
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sequentially from the previous page.                                                                         value of collateral.   this claim

 2.38    Creditor's name                                     Describe debtor's property that is
         Nettie Johnston                                     subject to a lien                                            $0.00                  $0.00

         Creditor's mailing address                          2290 Surrey Meadows Ave
         2290 Surrey Meadows Ave                             Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Henderson                  NV       89052                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.12

 2.39    Creditor's name                                     Describe debtor's property that is
         Pebble Creek HOA                                    subject to a lien                                            $0.00           $250,000.00

         Creditor's mailing address                          2460 Avenida Cortes
         8595 Eastern Ave                                    Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV       89123                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          2    4      6   4   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.2




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 Part 1:       Additional Page                                                                               Column A               Column B
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sequentially from the previous page.                                                                         value of collateral.   this claim

 2.40    Creditor's name                                     Describe debtor's property that is
         Robert Lopez                                        subject to a lien                                            $0.00           $231,000.00

         Creditor's mailing address                          1528 Splinter Rock Way
         1528 Splinter Rock Way                              Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         North Las Vegas            NV    89031                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.18

 2.41    Creditor's name                                     Describe debtor's property that is
         Rosanna Lopez                                       subject to a lien                                            $0.00           $231,000.00

         Creditor's mailing address                          1528 Splinter Rock Way
         1528 Splinter Rock Way                              Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         North Las Vegas            NV    89031                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.18




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 Part 1:       Additional Page                                                                               Column A               Column B
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sequentially from the previous page.                                                                         value of collateral.   this claim

 2.42    Creditor's name                                     Describe debtor's property that is
         Sandra Schafer                                      subject to a lien                                            $0.00           $282,109.00

         Creditor's mailing address                          3383 cloverdale Ct,
         3383 Cloverdale Ct                                  Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV       89117-3951           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.6

 2.43    Creditor's name                                     Describe debtor's property that is
         Seterus, Inc.                                       subject to a lien                                    $233,000.00                    $0.00

         Creditor's mailing address                          2290 Surrey Meadows Ave
         P.O. Box 1077                                       Describe the lien
                                                             Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Hartford                   CT       06143-1077           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          9    3   7    0     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.12




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 Part 1:       Additional Page                                                                               Column A               Column B
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sequentially from the previous page.                                                                         value of collateral.   this claim

 2.44    Creditor's name                                     Describe debtor's property that is
         Shauna Brogan                                       subject to a lien                                            $0.00           $281,000.00

         Creditor's mailing address                          1624 Desert Canyon Ct
         1624 Desert Canyon Ct                               Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV       89128                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.11

 2.45    Creditor's name                                     Describe debtor's property that is
         Shellpoint Mortgage Servicing                       subject to a lien                                    $160,000.00             $252,000.00

         Creditor's mailing address                          1392 Echo Falls Ave
         PO Box 740039                                       Describe the lien
                                                             Purchase Money
                                                             Is the creditor an insider or related party?
         Cincinnati                 OH       45274-0039           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          6    8      6   1   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.9




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 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.46    Creditor's name                                     Describe debtor's property that is
         Shellpoint Mortgage Servicing                       subject to a lien                                    $155,000.00             $244,000.00

         Creditor's mailing address                          956 Ostrich Fern Court
         PO Box 740039                                       Describe the lien
                                                             Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Cincinnati                 OH       45274-0039           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          6    8   6    0     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.14

 2.47    Creditor's name                                     Describe debtor's property that is
                                                subject to a lien
         Silverado Rnch LMA C/O First Service Res                                                                    $1,000.00            $252,000.00

         Creditor's mailing address             1392 Echo Falls Ave
         PO Box 54089                                        Describe the lien
                                                             Arrearage
                                                             Is the creditor an insider or related party?
         Los Angeles                CA       90054-0089           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.9




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
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sequentially from the previous page.                                                                         value of collateral.   this claim

 2.48    Creditor's name                                     Describe debtor's property that is
                                                subject to a lien
         Silverado Rnch LMA C/O First Service Res                                                                    $1,000.00            $244,000.00

         Creditor's mailing address             956 Ostrich Fern Court
         PO Box 54089                                        Describe the lien
                                                             Arrearage
                                                             Is the creditor an insider or related party?
         Los Angeles                CA       90054-0089           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          C    S   R    2     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.14

 2.49    Creditor's name                                     Describe debtor's property that is
         Summerlin North Community Assoc                     subject to a lien                                            $0.00           $277,000.00

         Creditor's mailing address                          Aspen Glow
         2120 Snow Trail                                     Describe the lien
                                                             Arrearage
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV       89134-6709           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          G    l   o   w      As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.10




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 Part 1:       Additional Page                                                                               Column A               Column B
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sequentially from the previous page.                                                                         value of collateral.   this claim

 2.50    Creditor's name                                     Describe debtor's property that is
         Summerlin North Community Assoc                     subject to a lien                                            $0.00           $281,000.00

         Creditor's mailing address                          1624 Desert Canyon Ct
         2120 Snow Trail                                     Describe the lien
                                                             Notice Only
                                                             Is the creditor an insider or related party?
         Las Vegas                  NV       89134-6709           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          4    5   8    8     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.11

 2.51    Creditor's name                                     Describe debtor's property that is
         Wells Fargo Home Mortgage                           subject to a lien                                    $105,000.00             $231,000.00

         Creditor's mailing address                          1528 Splinter Rock Way
         PO Box 7198                                         Describe the lien
                                                             Purchase Money / Agreement
                                                             Is the creditor an insider or related party?
         Pasadena                   CA       91109-7198           No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          4    8   5    1     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.18




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Debtor       Schulte Properties, LLC                                                         Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
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sequentially from the previous page.                                                                         value of collateral.   this claim

 2.52    Creditor's name                                     Describe debtor's property that is
                                              subject to a lien
         West Sahara Community HOA c/p First Serv                                                                    $4,000.00            $258,000.00

         Creditor's mailing address           9020 Feather River Ct
         P.O. Box 54089                                      Describe the lien
                                                             Arrearage
                                                             Is the creditor an insider or related party?
         Los Angeles                CA    90054-0089              No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred                                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.3




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 28
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Debtor       Schulte Properties, LLC                                                   Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         Bayview Loan Servicing, LLC                                                   Line   2.30
         4425 Ponce De Leon Blvd
         5th Floor mailroom


         Coral Gables                                 FL       33146


         Bayview Loan Servicing, LLC                                                   Line   2.29
         4425 Ponce De Leon Blvd
         5th Floor mailroom


         Coral Gables                                 FL       33146


         Bayview Loan Servicing, LLC                                                   Line   2.29                     1    9    7      9
         4425 Ponce De Leon Blvd
         5th Floor mailroom


         Coral Gables                                 FL       33146


         Bayview Loan Servicing, LLC                                                   Line   2.28
         4425 Ponce De Leon Blvd
         5th Floor mailroom


         Coral Gables                                 FL       33146


         Bayview Loan Servicing, LLC                                                   Line   2.27
         4425 Ponce De Leon Blvd
         5th Floor mailroom


         Coral Gables                                 FL       33146


         Bayview Loan Servicing, LLC                                                   Line   2.27                     1    9    7      9
         4425 Ponce De Leon Blvd
         5th Floor mailroom


         Coral Gables                                 FL       33146




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                      page 29
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Debtor       Schulte Properties, LLC                                         Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1 -- Continuation Page
         Name and address                                                   On which line in Part 1   Last 4 digits of
                                                                            did you enter the         account number
                                                                            related creditor?         for this entity
         Bayview Loan Servicing, LLC                                         Line   2.6                4   9    1    2
         4425 Ponce De Leon Blvd
         5th Floor mailroom


         Coral Gables                           FL     33146


         Bayview Loan Servicing, LLC                                         Line   2.4                4   3    0    4
         4425 Ponce De Leon Blvd
         5th Floor mailroom


         Coral Gables                           FL     33146


         Chase Home Finance, LLC                                             Line   2.30
         3415 Vision Dr.




         Columbus                               OH     43219


         Chase Home Finance, LLC                                             Line   2.30               7   6    0    9
         3415 Vision Dr.




         Columbus                               OH     43219


         Chase Home Finance, LLC                                             Line   2.29
         3415 Vision Dr.




         Columbus                               OH     43219


         Chase Home Finance, LLC                                             Line   2.29               4   5    3    1
         3415 Vision Dr.



         Columbus                               OH     43219


         Chase Home Finance, LLC                                             Line   2.28
         3415 Vision Dr.



         Columbus                               OH     43219




Official Form 206D             Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                       page 30
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Debtor       Schulte Properties, LLC                                           Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1 -- Continuation Page
         Name and address                                                     On which line in Part 1   Last 4 digits of
                                                                              did you enter the         account number
                                                                              related creditor?         for this entity
         Chase Home Finance, LLC                                               Line   2.27
         3415 Vision Dr.




         Columbus                                 OH     43219


         Chase Home Finance, LLC                                               Line   2.27               4   5    3    1
         3415 Vision Dr.



         Columbus                                 OH     43219


         Federal Home Loan Mortgage Corp                                       Line   2.27
         8200 Jones Branch Dr.




         McLean                                   VA     22102


         Federal Home Loan Mortgage Corp                                       Line   2.20
         8200 Jones Branch Dr.




         McLean                                   VA     22102


         Federal National Morgate Association                                  Line   2.11               3   6    0    8
         3900 Wisconsin Ave. N.W.




         Washington                               DC     20016


         Federal National Mortgage Association                                 Line   2.43               7   3    6    2
         PO Box 10002



         Hagerstown                               MD     21747


         First American Trustee Servicing Solutio                              Line   2.11               6   8    3    2
         1500 Solana Blvd Bldg 6 Ste 6100



         Westlake                                 TX     76262




Official Form 206D               Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                       page 31
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Debtor       Schulte Properties, LLC                                         Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1 -- Continuation Page
         Name and address                                                   On which line in Part 1   Last 4 digits of
                                                                            did you enter the         account number
                                                                            related creditor?         for this entity
         Government National Mortgage Association                            Line   2.51               3   1    9    4
         451 7th St. SW, Room B-133




         Washington                              DC    20410


         Government National Mortgage Association                            Line   2.30               5   5    4    5
         451 7th St. SW, Room B-133



         Washington                              DC    20410


         Government National Mortgage Association                            Line   2.13
         451 7th St. SW, Room B-133




         Washington                              DC    20410


         Government National Mortgage Association                            Line   2.13               0   7    4    4
         451 7th St. SW, Room B-133




         Washington                              DC    20410


         Green Tree Servicing LLC - Ditech Fin                               Line   2.3                0   6    2    2
         PO Box 6176




         Rapid City                              SD    57709-6176


         Green Tree Servicing LLC - Ditech Fin                               Line   2.2                0   6    2    2
         PO Box 6176



         Rapid City                              SD    57709-6176


         GreenTree Servicing LLC                                             Line   2.5                7   6    4    4
         PO Box 6176



         Rapid City                              SD    57709-6176




Official Form 206D             Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                       page 32
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Debtor       Schulte Properties, LLC                                          Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1 -- Continuation Page
         Name and address                                                    On which line in Part 1   Last 4 digits of
                                                                             did you enter the         account number
                                                                             related creditor?         for this entity
         MTC Financial Inc DBA Trustee Corp                                   Line   2.45               8   1    6    1
         3571 Red Rock St. Ste B




         Las Vegas                               NV     89103


         National Default Servicing Corp                                      Line   2.30               J   P    N   V
         7720 N. 16th St. Suite 300



         Phoenix                                 AZ     85020


         National Default Servicing Corp                                      Line   2.29               C    I   N   V
         7720 N. 16th St. Suite 300




         Phoenix                                 AZ     85020


         National Default Servicing Corp                                      Line   2.27               C    I   N   V
         7720 N. 16th St. Suite 300




         Phoenix                                 AZ     85020


         National Default Servicing Corp                                      Line   2.13
         7720 N. 16th St. Suite 300




         Phoenix                                 AZ     85020


         National Default Servicing Corp                                      Line   2.13               C    I   N   V
         7720 N. 16th St. Suite 300



         Phoenix                                 AZ     85020


         National Default Servicing Corp                                      Line   2.3                C    I   N   V
         7720 N. 16th St. Suite 300



         Phoenix                                 AZ     85020




Official Form 206D              Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                       page 33
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Debtor       Schulte Properties, LLC                                            Case number (if known)

 Part 2:          List Others to Be Notified for a Debt Already Listed in Part 1 -- Continuation Page
         Name and address                                                      On which line in Part 1   Last 4 digits of
                                                                               did you enter the         account number
                                                                               related creditor?         for this entity
         Northwest Trustee Services, INc                                        Line   2.20               0   9    2    7
         2121 Alton Parkway, Ste 110




         Irvine                                    CA     92606


         Ocwen Loan Servicing LLC                                               Line   2.46               4   8    2    8
         PO Box 24736



         West Palm Beach                           FL     33416-4736


         Ocwyn Loan Servicing LLC                                               Line   2.45               4   8    3    6
         PO Box 24736




         West Palm Beach                           FL     33416-4736


         Sables, LLC                                                            Line   2.46               6   0    5    7
         3754 Howard Hughes Pkwy, Suite 200
         Las Vegas, N 89169




         Seaside Trustee Inc                                                    Line   2.4                3   2    N   V
         Po Box 752377




         Las Vegas                                 NV     89136


         Selene Finance LP                                                      Line   2.43               7   6    9    0
         POBox 421517



         Houston                                   TX     77242


         Selene Finance LP                                                      Line   2.11
         PO Box 421517



         Houston                                   TX     77242-1517




Official Form 206D                Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                       page 34
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Debtor       Schulte Properties, LLC                                         Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1 -- Continuation Page
         Name and address                                                   On which line in Part 1   Last 4 digits of
                                                                            did you enter the         account number
                                                                            related creditor?         for this entity
         Seterus, Inc.                                                       Line   2.11               6   1    3    5
         P.O. Box 1077




         Hartford                               CT     06143-1077


         TD Service Company                                                  Line   2.43               0   3    2    0
         4000 W. Metropolitan Dr. Ste 400



         Orange                                 CA     92868




Official Form 206D             Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                       page 35
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 Fill in this information to identify the case:
 Debtor             Schulte Properties, LLC

 United States Bankruptcy Court for the: DISTRICT OF NEVADA

 Case number                                                                                                 Check if this is an
 (if known)                                                                                                  amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                      12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:       List All Creditors with PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
          No. Go to Part 2.
          Yes. Go to line 2.

2.   List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
     If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                          Total claim         Priority amount




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor         Schulte Properties, LLC                                                  Case number (if known)

 Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
       claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim

     3.1   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                         $0.00
                                                                    Check all that apply.
Clark County Assessor                                                   Contingent
500 S. Grand Central Pkwy #2                                            Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Las Vegas                                 NV      89155             Notice Only

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.2   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                         $0.00
                                                                    Check all that apply.
IRS                                                                     Contingent
                                                                        Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Cincinnati                                OH      45999-0023        Notice Only

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.3   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                         $0.00
                                                                    Check all that apply.
Secretary of State                                                      Contingent
101 N. Carson Street, Suite 3                                           Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Carson City                               NV      89701             Notice Only

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page 2
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Debtor        Schulte Properties, LLC                                                      Case number (if known)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Chris Wirta                                                           Line
         2460 Avenida Cortes                                                          Not listed. Explain:
                                                                                      Notice Only


         Henderson                     NV      89074




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 3
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Debtor      Schulte Properties, LLC                                           Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +                   $0.00


5c. Total of Parts 1 and 2                                                                5c.                       $0.00
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 4
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 Fill in this information to identify the case:


 Debtor Name Schulte Properties, LLC

 United States Bankruptcy Court for the:                   DISTRICT OF NEVADA

 Case number (if known):                                                                                                                                                            Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                 $3,247,321.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                                $0.00
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                 $3,247,321.00
         Copy line 92 from Schedule A/B........................................................................................................................................................................

 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 206D)
                                                                                                                                            $2,552,774.69
     Copy the total dollar amount listed in Column A, Amount of claim, at the bottom of page 1 of Schedule D.........................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F.........................................................................................................................................................

     3b. Total amount of claims of non-priority amount of unsecured claims:
                                                                                                                                              +                        $0.00
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..............................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................ $2,552,774.69




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         Schulte Properties, LLC

 United States Bankruptcy Court for the: DISTRICT OF NEVADA

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:


                 Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                 Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 05/31/2017                       X /s/ Melani Schulte
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Melani Schulte
                                                             Printed name
                                                             Member
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF NEVADA
                                                                 LAS VEGAS DIVISION
In re Schulte Properties, LLC                                                                                                       Case No.

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

                                                                                                                                    $400.00
     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                   $400.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                                        $0.00
     Balance Due..............................................................................................................................................................

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Meeting of creditors, adversary proceedings, plan. Attorney will do a fee application as fees are necessary for the
   remaining amounts.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                   05/31/2017                        /s/ Amberlea Davis
                      Date                           Amberlea Davis                             Bar No. 11551
                                                     Law Office Of Amberlea Davis
                                                     415 S. 6th St Ste 300
                                                     Las Vegas NV 89101
                                                     Phone: (702) 440-8000 / Fax: (844) 533-0953




    /s/ Melani Schulte
  Melani Schulte
  Member
Case
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                    Aja Campbell
                    3729 Discovery Creek Ave
                    North Las Vegas, NV 89031-3603



                    BAC Home Loan Servicing, LP
                    PO Box 942019
                    Simi Valley, CA 93094-2019



                    Bayview Loan Servicing, LLC
                    4425 Ponce De Leon Blvd
                    5th Floor mailroom
                    Coral Gables, FL 33146


                    Billy Obedoza
                    5218 Misty Morning Dr.
                    Las Vegas, NV 89118-0600



                    Chase Home Finance, LLC
                    3415 Vision Dr.
                    Columbus, OH 43219



                    Chris Wirta
                    2460 Avenida Cortes
                    Henderson, NV 89074



                    Chris Wirta
                    2460 Avenida Cortes
                    Henderson, NV 89074-6349



                    Christopher Martano
                    1392 Echo Falls Ave
                    Las Vegas, NV 8923-6377



                    CitiMortgage, Inc
                    P.O. Box 10002
                    Hagerstown, MD 21747
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                    City National Bank
                    PO Box 60938
                    Los Angeles, Ca 90060-0938



                    Clark County Assessor
                    500 S. Grand Central Pkwy #2
                    Las Vegas, NV 89155



                    Clint Fisher
                    956 Ostrich Fern Court
                    Las Vegas, NV 89123-4050



                    Copper Ridge C/O Colonial Mgmt
                    PO Box 63275
                    Phoenix, AZ 85082-3275



                    Creekside HOA c/o first residential
                    PO Box 54089
                    Los Angeles, CA 90054-0089



                    Dulce B. Soliz
                    6091 Pumpkin Patch Ave
                    Las Vegas, NV 89142-0791



                    Eldorado First C/o Terra West Property
                    PO Box 80900
                    Las Vegas, NV 89180-0900



                    Federal Home Loan Mortgage Corp
                    8200 Jones Branch Dr.
                    McLean, VA 22102



                    Federal National Morgate Association
                    3900 Wisconsin Ave. N.W.
                    Washington DC 20016
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                    Federal National Mortgage Association
                    PO Box 10002
                    Hagerstown, MD 21747



                    Fifth Third Bank Mtg Loan Scv
                    5050 Kingsley Dr.
                    MD 1MOC FP
                    Cincinnati OH 45263


                    First American Trustee Servicing Solutio
                    1500 Solana Blvd Bldg 6 Ste 6100
                    Westlake, TX 76262



                    Government National Mortgage Association
                    451 7th St. SW, Room B-133
                    Washington, DC 20410



                    Green Tree Servicing LLC - Ditech Fin
                    PO Box 6176
                    Rapid City, SD 57709-6176



                    Green Valley Ranch, HOA CO Terra West
                    PO Box 94617
                    Las Vegas, NV 89193-4617



                    GreenTree Servicing LLC
                    PO Box 6176
                    Rapid City SD 57709-6176



                    Image Finance, LLC
                    4571 Wilshire Blvd, Suite 203
                    Las Angeles, CA 90010



                    IRS
                    Cincinnati OH 45999-0023
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                    James Craig
                    9020 Feather River Ct
                    Las Vegas, NV 89117-2367



                    Jessie C. Gaytan
                    6091 Pumpkin Patch Ave
                    Las Vegas, NV 89142



                    JP Morgan Chase Bank
                    P.O. Box 183166
                    Columbus, OH 43218-3166



                    Kami Conselva
                    5218 Misty Morning Dr.
                    LAs Vegas, NV 89118-0600



                    Karen Taylor
                    3729 Discovery Creek Ave
                    North Las Vegas, NV 89031-3603



                    Linda Reina
                    7873 Bridgefield Lane
                    Las Vegas, NV 89147-5099



                    Luis Lopez
                    2614 Sweet Leilani Ave
                    North Las Vegas, NV 89031



                    Maria Lopez
                    2614 Sweet Leilani Ave
                    North Las Vegas, NV 89031



                    Mary Wirta
                    2460 Avenida Cortes
                    Henderson, NV 89074
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                    Michaela Martano
                    1392 Echo Falls Ave
                    Las Vegas, NV 8912306377



                    MTC Financial Inc DBA Trustee Corp
                    3571 Red Rock St. Ste B
                    Las Vegas, NV 89103



                    National Default Servicing Corp
                    7720 N. 16th St. Suite 300
                    Phoenix AZ 85020



                    Nettie Johnston
                    2290 Surrey Meadows Ave
                    Henderson, NV 89052



                    Northwest Trustee Services, INc
                    2121 Alton Parkway, Ste 110
                    Irvine, CA 92606



                    Ocwen Loan Servicing LLC
                    PO Box 24736
                    West Palm Beach, FL 33416-4736



                    Ocwyn Loan Servicing LLC
                    PO Box 24736
                    West Palm Beach, FL 33416-4736



                    Pebble Creek HOA
                    8595 Eastern Ave
                    Las Vegas, NV 89123



                    Robert Lopez
                    1528 Splinter Rock Way
                    North Las Vegas, NV 89031
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                    Rosanna Lopez
                    1528 Splinter Rock Way
                    North Las Vegas, NV 89031



                    Sables, LLC
                    3754 Howard Hughes Pkwy, Suite 200
                    Las Vegas, N 89169



                    Sandra Schafer
                    3383 Cloverdale Ct
                    Las Vegas, NV 89117-3951



                    Seaside Trustee Inc
                    Po Box 752377
                    Las Vegas, NV 89136



                    Secretary of State
                    101 N. Carson Street, Suite 3
                    Carson City, NV 89701



                    Selene Finance LP
                    PO Box 421517
                    Houston, TX 77242-1517



                    Selene Finance LP
                    POBox 421517
                    Houston, TX 77242



                    Seterus, Inc.
                    P.O. Box 1077
                    Hartford, CT 06143-1077



                    Shauna Brogan
                    1624 Desert Canyon Ct
                    Las Vegas, NV 89128
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                    Shellpoint Mortgage Servicing
                    PO Box 740039
                    Cincinnati OH 45274-0039



                    Silverado Rnch LMA C/O First Service Res
                    PO Box 54089
                    Los Angeles, CA 90054-0089



                    Summerlin North Community Assoc
                    2120 Snow Trail
                    Las Vegas, NV 89134-6709



                    TD Service Company
                    4000 W. Metropolitan Dr. Ste 400
                    Orange, CA 92868



                    Wells Fargo Home Mortgage
                    PO Box 7198
                    Pasadena, CA 91109-7198



                    West Sahara Community HOA c/p First Serv
                    P.O. Box 54089
                    Los Angeles, CA 90054-0089
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                                         UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF NEVADA
                                                LAS VEGAS DIVISION
                                                                    §
IN RE:
                                                                    §
Schulte Properties, LLC                                             §             Case No.
                                                                    §
                          Debtor(s)                                 §             Chapter      11


                       DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                          PETITION, LISTS, STATEMENTS, AND SCHEDULES
PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or limited
liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in accordance with
the chapter of title 11, United States Code, specified in the petition to be filed electronically in this case. I have read the
information provided in the petition, lists, statements, and schedules to be filed electronically in this case and I HEREBY
DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the social security information
disclosed in this document, is true and correct. I understand that this Declaration is to be filed with the Bankruptcy Court within
five (5) business days after the petition, lists, statements, and schedules have been filed electronically. I understand that a
failure to file the signed original of this Declaration will result in the dismissal of my case.

      [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
      I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I am aware that
      I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief available under each
      chapter, and choose to proceed under chapter 7.


      [Only include if petitioner is a corporation, partnership or limited liability company] --
      I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists, statements, and
      schedules on behalf of the debtor in this case.


Date: 5/31/2017                   /s/ Melani Schulte
                                  Melani Schulte
                                  Member
                                  Complete EIN: XX-XXXXXXX

PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part I herein
which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual with primarily
consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained
the relief available under each such chapter.

Date: 5/31/2017                                                     /s/ Amberlea Davis
                                                                    Amberlea Davis, Attorney for Debtor
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                            17-12883-mknDocDoc
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      Fill in this information to identify the case:

                   Schulte Properties
      Debtor name __________________________________________________________________
                                           Southern                             Nevada
      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
      David Pierce                                                           Loan                  Contingent                                                $45,000
1
      9811 W. Charleston Blvd., 2-279                                                               Disputed
      Las Vegas, NV 89117


      Amberlea Davis, Esq.                   Amberlea Davis                  Prior attorney
2     415 S. 6th St. Ste 300                 amber@sheismylawyer.com         services already
      Las Vegas, NV 89101                    702-440-8000                    performed
                                                                             unrelated to bk                                                                 $20,000
                                                                              Loan                 Contingent                                                $12,500
      Efren Sotelo
3
      1401 Smokey Glen Cr                                                                           Disputed
      Las Vegas, NV 89110

      Lucy Innuso                                                            Loan                  Contingent                                             $7,500.00
4     7413 Lattimore Dr.                                                                           Disputed
      Las Vegas, NV 89110


       Elisa Chadbourne
5      5840 Tuscan Hill Ct.                                                                                                                               $2,500
       Las Vegas, NV 89141                                                   Loan                  Contingent
                                                                                                   Disputed

6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
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    Debtor       _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

9




10




11




12




13




14




15




16




17




18




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    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
